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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                 12/30/2020
JAVIER V. MORENO,                                              :
                                                               :     20-CV-3803 (PAE) (RWL)
                                    Plaintiff,                 :
                                                               :        ORDER OF SERVICE
                  - against -                                  :   AND SCHEDULING ORDER
                                                               :
COMMISSIONER OF SOCIAL SECURITY,                               :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        In response to this Court’s order to show cause why this matter should not be

dismissed for failure to prosecute (Dkt. 14), plaintiff counsel submitted a letter on

December 13, 2020, stating that he finally had served Defendant that day (Dkt. 15).

Plaintiff counsel offered no excuse for not having done so earlier and still has not filed

proof of service. Nor does the record reflect acknowledgment of service by Defendant.

Accordingly, to move matters forward and in the interest of justice for Plaintiff proceeding

in forma pauperis, the Court respectfully directs the Clerk of Court to notify the U.S.

Attorney’s Office for the Southern District of New York of the filing of this case, brought

under 42 U.S.C. § 405(g), for which Plaintiff proceeds in forma pauperis and the filing fee

has been waived. Notice by the Clerk of Court shall constitute service, and the date of

the filing of this order shall be the effective date of service. Scheduling shall proceed

according to the timeline set forth in the Court’s standing and supplemental scheduling

orders filed in this case.




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                                          SO ORDERED.



                                          _______________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: December 30, 2020
       New York, New York

Copies transmitted this date to all counsel of record.




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